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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 :

       v.                                     : Crim. No. 21-537 (JMC)

JASON BLYTHE                                  :

                    APPEARANCE OF COUNSEL FOR DEFENDANT

       Please enter the appearance of undersigned appointed counsel on behalf of the Defendant,

nunc pro tunc to January 24, 2022.

                                                   /s/

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                                CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 11th day of
November, 2022, to all counsel of record.

                                                   /s/

                                           Stephen F. Brennwald
